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             EXHIBIT J
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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

  STATE OF NEW JERSEY, et al.
                                               :
              Plaintiffs,                      :
                                               :
   v.                                          :
                                               :     Civil Action No.: ___________
                                                                        25-cv-10139
  DONALD J. TRUMP, et al.                      :
                                               :
              Defendants.                      :
                                               :
                                               :
                                               :

         I, MEGHAN GROEN, pursuant to 28 U.S.C. § 1746, hereby declare that the

following is true and correct:

         1.    I am the Senior Deputy Director for behavioral and physical health

and aging services within the Michigan Department of Health and Human Services

(MDHHS). I became the Senior Deputy Director for behavioral and physical health

and aging services in May 2023. I am responsible for executive level oversight and

administration of Medicaid and the HMP (Healthy Michigan Plan) (together

commonly referred to as Medicaid), as well as CHIP (Children’s Health Insurance

Program), policy and the related eligibility and determination process. In this

capacity, I also serve as the Michigan Medicaid Director.

         2.    I am providing this declaration to explain certain impacts on

Michigan’s health assistance programs of an Executive Order titled “Protecting the

Meaning and Value of American Citizenship,” issued on January 20, 2025 (the

“Executive Order”), which revokes birthright citizenship for children born in the


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United States after February 19, 2025 to (i) a mother who is unlawfully present or

who is lawfully present in the United States but on a temporary basis, and (ii) a

father who is neither a citizen nor a lawful permanent resident.

           Michigan’s Medicaid and CHIP programs, eligibility requirements,
                                 and federal funding

      3.       Medicaid is a comprehensive health care coverage program for low-

income Michiganders. To qualify, individuals must generally fall into one of the

following categories:

           •   Elderly adults

           •   Blind or disabled adults

           •   Pregnant women Families/Caretakers of dependent children

           •   Very low income children (generally under 110% of the federal poverty

               level)

      4.       HMP is Michigan’s Medicaid Expansion program, which provides

comprehensive health care coverage for individuals who:

           •   Are age 19-64 years

           •   Have income at or below 133% of the federal poverty level* ($16,000 for

               a single person or $33,000 for a family of four)

           •   Do not qualify for or are not enrolled in Medicare

           •   Do not qualify for or are not enrolled in other Medicaid programs

           •   Are not pregnant at the time of application, and

           •   Are residents of the State of Michigan.




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      5.       CHIP is a health coverage program funded jointly by the state and

federal government to provide health care coverage to eligible children in families

that make too much to be eligible for Medicaid, but too low to afford private

coverage. Michigan’s primary CHIP program is known by the name of MIChild.

Children enrolled in MIChild are considered Medicaid beneficiaries and are entitled

to all Medicaid covered services. The MIChild program provides health care

coverage for children who:

           •   Are age 0 through 18

           •   Have income above traditional Medicaid eligibility levels but at or

               below 212% of the Federal Poverty Level under the Modified Adjusted

               Gross Income (MAGI) methodology

           •   Do not have other comprehensive medical insurance (this includes

               insurance that covers inpatient and outpatient hospital services,

               laboratory, x-ray, pharmacy, and physician services)

           •   Do not qualify for other MAGI related Medicaid programs, and

           •   Are residents of the State of Michigan.

      6.       Medicaid, HMP, and MIChild offer a full array of health benefits,

including physical health, behavioral health, dental, vision, and long-term care

coverage. Medicaid, HMP, and MIChild are federal-state partnership programs with

both a federal and state share funding the overall program costs. Michigan is able

to draw 65% federal match for Medicaid, 90% federal match for HMP, and 76%

federal match for MIChild.




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        7.    Non-citizens are generally eligible for coverage of Emergency Services

Only (ESO) Medicaid. ESO Medicaid provides a very limited benefit for aliens who

are not otherwise eligible for full Medicaid because of immigration status. Aliens

who are not otherwise eligible for full Medicaid because of immigration status may

be eligible for Emergency Services Only (ESO) Medicaid. For the purpose of ESO

coverage, federal Medicaid regulations define an emergency medical condition

(including emergency labor and delivery) as a sudden onset of a physical or mental

condition which causes acute symptoms, including severe pain, where the absence of

immediate medical attention could reasonably be expected to:

   •    Place the person’s health in serious jeopardy, or

   •    Cause serious impairment to bodily functions, or

   •    Cause serious dysfunction of any bodily organ or part.


ESO Medicaid coverage is limited to those services necessary to treat emergency

conditions. The following services are not covered under this benefit today:

   •    preventative services

   •    follow-up services related to emergency treatment (e.g., removal of cast,

        follow-up laboratory studies, etc.)

   •    treatment of chronic conditions (e.g., chemotherapy, etc.)

   •    sterilizations performed in conjunction with delivery

   •    organ transplants pre-scheduled surgeries

   •    postpartum care

   •    non-emergency newborn care



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         8.    In order to get Medicaid or HMP coverage, most non-citizens have a

five-year waiting period before they can get full Medicaid or HMP coverage. Certain

noncitizens, like refugees or asylees, are exempt from the five-year waiting period.

         9.    The Children’s Health Insurance Program Reauthorization Act of 2009

(CHIPRA) allows states to provide full coverage to pregnant women and children

who are lawfully residing in the United States. Michigan Medicaid allows lawfully

residing pregnant women to receive full coverage through the entirety of both their

pregnancy and their 12-month postpartum period. After the end of their postpartum

period, they will revert to ESO coverage if applicable. Lawfully residing children

receive full coverage until they reach age 21 and then revert to ESO coverage if

applicable. Individuals who are not considered lawfully present pursuant to section

1903(v)(4) and 2107(e)(l)(J) of the Social Security Act would not qualify for this

option and instead receive limited coverage through ESO Medicaid only.

         10.   During state fiscal year 2024, 3.3 million Michiganders, including 1.22

million children, were provided with health care coverage through Michigan’s

Medicaid and CHIP programs. An average of 979,727 children under the age of 18

and 42,735 pregnant women were covered each month over the course of the fiscal

year.

         11.   Under federal law, Medicaid and CHIP coverage is provided to citizens

and qualified noncitizens whose citizenship or qualifying immigration status is

verified and who are otherwise eligible. Individuals may apply via MI Bridges,

Michigan’s online application platform, via phone, or in person by completing an




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application. With the exception of individuals who apply for ESO Medicaid coverage

only, citizenship is considered to be an eligibility factor for Medicaid and CHIP

coverage and is verified by MDHHS. There are multiple ways that MDHHS verifies

citizenship to determine eligibility.

      12.    Citizenship is generally verified through a data matching process

leveraging Social Security Administration and/or MDHHS vital records data. In

instances where citizenship cannot be verified through those automatic means, the

applicant is contacted to provide supporting documentation, including, but not

limited to, a passport, Certificate of Naturalization, or Certificate of Citizenship,

military record of service. If verification of this manner cannot be provided,

MDHHS will request third level evidence of U.S. citizenship.

      13.    Third level evidence is usually a non-government document

established for a reason other than to establish U.S. citizenship and showing a U.S.

place of birth. This includes an extract of a hospital record on hospital letterhead

established at the time of birth that was created at least five years before the initial

application date that indicates a U.S. place of birth; life, health or other insurance

record showing a U.S. place of birth that was created at least five years before the

initial application date; religious record recorded in the U.S. within three months of

birth showing the birth occurred in the U.S. and showing either the date of the birth

or the individual’s age at the time the record was made; or an early school record

showing a U.S. place of birth.




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      14.    If third level evidence cannot be supplied, MDHHS policy stipulates

that fourth level evidence can be used only in the rarest of circumstances. When

this is necessitated, a written affidavit completed by the applicant or recipient and

at least two additional individuals of whom one is not related to the

applicant/recipient and who have personal knowledge of the event(s) establishing

the person’s claim of citizenship can be considered. Individuals making the affidavit

must be able to provide proof of their own citizenship and identity. The affidavit is

signed under penalty of perjury by the person making the affidavit and must

include information explaining why other documentary evidence establishing the

applicant’s claim of citizenship does not exist or cannot be obtained.

      15.    A child born to a woman receiving Medicaid in Michigan is considered

a U.S. citizen. No further documentation of the child’s citizenship is required.

Following the child’s birth, he or she would be automatically enrolled in Medicaid

for the first 12 months after birth. This coverage provides full Medicaid benefits and

permits the hospital and other providers to bill Medicaid for the child’s covered

services such as newborn testing and screenings, vaccination, pediatrician visit, and

the hospital stay. The Executive Order is likely to have serious impacts on public

health and inflict harm on hospitals and other safety-net providers that will be left

with the costs of now uncompensated, but required, health care services and

supports. Hospitals across the country and in Michigan have suspended labor and

delivery units and adding uncompensated costs as a result of this order may




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exacerbate growing access concerns over access to labor and delivery services for

pregnant women regardless of their insurer.

      16.    I understand that the President has issued an Executive Order ending

birthright citizenship. The federal government’s policy of ending birthright

citizenship for children born in the United States based on their parent(s)’ non-

citizen/immigration status will have a variety of widespread impacts on Michigan’s

medical benefits programs, including a decrease in receipt of proper medical care for

children born in Michigan and increased operational and administrative costs for

Michigan. In addition, the change of policy will have a direct impact on Michigan’s

administration of its Medicaid and CHIP programs and result in a loss of federal

funding Michigan receives to reimburse medical expenses in Michigan. As a result,

uncompensated care costs will increase for hospitals and safety net providers in

Michigan.

                  Fiscal Impact of Revoking Birthright Citizenship

      17.    The Executive Order will result in a direct loss of federal funding for

both the undocumented mothers and their children that were eligible for the

Maternity Outpatient Medical Services program (MOMS).

      18.    MOMS is a health coverage program in Michigan. The MOMS program

provides health coverage for pregnant or recently pregnant women who are eligible

for ESO Medicaid. MOMS provides coverage for outpatient prenatal services and

pregnancy-related postpartum services for two months after the pregnancy ends

including but not limited to inpatient labor and delivery, radiology and ultrasound,




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laboratory service, doula and home visiting, behavioral health and substance use

disorder services. MOMS also covers family planning services for the mother during

the postpartum period.

      19.    In state fiscal year 2024, 5,500 women were covered through the

MOMS program for at least a portion of their pregnancy and postpartum period and

1,907 babies were born to women covered by this program. If the pregnant women

covered through MOMS became ineligible due to a loss of citizenship for their

unborn child, that would result in a loss of $13.2 million in federal reimbursements

to Michigan and, assuming the State covers MOMS program expenses for those

individuals with State funds, a corresponding increase to State expenditures of the

same amount. If the babies born to these women were no longer considered citizens

and ineligible for Medicaid as a result of this status change, that would result in a

loss of approximately $11.6 million in federal reimbursements to Michigan and a

corresponding increase to State expenditures of the same amount.

      20.    The Executive Order will also result in a direct loss of federal funding

for children that are born in Michigan to undocumented parents and were eligible

for CHIP.

                               Administrative Burden

      21.    In addition, MDHHS expects increased administrative and training

costs for these programs relative to resources for training and potentially

systems/policy implementation as a result of the Executive Order. Additional

administrative costs will be incurred by hospitals and other safety-net providers.




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      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.



Dated: January 20, 2025                       ____________________________
                                              Meghan E. Groen
                                              Senior Deputy Director
                                              Behavioral and Physical Health and
                                              Aging Services Administration
                                              MDHHS




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